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                     Exhibit 17
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                                    CERTIFICATION

        I, Yaniv Berman, do hereby certify that as a qualified translator I am fully

conversant with the English and Arabic languages, and that to the best of my

knowledge, the attached document, ABPLC190726, is a true and accurate

translation of the original text from the Arabic language into English.


Date: July 7, 2014




                                                      Berman




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      4/17/Qi                                           9707282G704
                                                           n - h r:N ^ rr r of Allah, the Compassionate, t h e Merciful


      A l - S a l a h islamic A s s o c i a t i o n [English]                                      A l - S a l a h Islamic A s s o c i a t i o n [ / S o c i e t y ] [ A r a b i c ]


      Gaza G o v e r n o r a t e s — Palestine [English]                                           G.17a G o v e r n o r a t e s -      Palestine [ A r a b i c ]


      Date [English]:                                                                              Date [Arabic]:

      No. [English]:                                                                                No. [Arabic]:




      To t h e manager o f Arab Bank, may Allah p r o t e c t him,

      Gaza, on 4 / 1 5 / 2 0 0 1

      May peace be upon you, and Allah's mercy and blessings.

      Subject: W i t h h o l d i n g of a transfer f r o m the Saudi C o m m i t t e e in Support of t h e al-Quds Intifada

      Details:

      We w o u l d like y o u t o w i t h h o l d t h e transfers t h a t arrived f r o m t h e Saudi C o m m i t t e e in Support of t h e
      Al-Quds Intifada t o f o l l o w i n g citizens:

 1.   Ataya Jaber al-Sha'ir, ID no. 943855597.                    [handwritten:] "''Paid before t h e letter arrived, [signature]
 2.   Hamad Dawud Ahl. ID no. 956655112.
 3.   Harba Ibrahim Abu Azem. ID no. 94894114 1.


      Please ask t h e m t o come t o t h e Al-Salah Islamic Society.
      The Al-Salah Islamic Society will take complete responsibility for t h e above request. In t h e event of
      any problem, we shall compensate y o u w i t h t h e same a m o u n t , at t h e Society's expense.

                             W i t h our u t m o s t respect.

                                                                 The Al-Salah Islamic Society
                                                                 [Al-Salah stamp, and signature]
      [illegible note in handwriting]
                                                                                                  [illegible] Bank pic.
                                                                                                                     [Illegible]

                                                                                                 [Illegible]:                7032
                                                                                                 Arrival Date:               4/16
                                                                                                 [Illegible]:
                                                                                                 [Illegible]:


      jyfain Office / P.O. Box: 6035 Dir al-Balah+972 (8) 2536455 /2531081 Fax: +972 J8) 2530881
      Main Office / Gaza - Al-Thalathini Street, +97^(8)2820636 Fax: +972(8) 2823920
                                                          www.alsaiah.org


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conversant with the English and Arabic languages, and that to the best of my

knowledge, the attached document, ABPLC190308, is a true and                accurate

translation of the original text from the Arabic language into English.

Date: June 18, 2014



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                                              Yaniv Ber
                                                    Berman




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  21 M A Y 2 0 0 1       10:34        F R O M A L S A L A H E S L M I C [ s i c ] A S S O C I T I O N [sic. i.e. ' S O C I E T Y ' ]     TO
  022982444          p. 01


                                           In the Name of Allah, the Compassionate, the Merciful



  Al-Salah Islamic Association                                                           Al-Salah Islamic Society
  Gaza Strip - Palestine                                                                 Gaza Strip - Palestine
  Date:                                                                                  Date: 05/19/2001
  No.:                                                                                   No.:



  Mr. Muhammad al-Tahan, m a y Allah protect him                                                    [illegible handwriting]
  Manager of Arab Bank - Ramallah
                                  Subject: Stopping transfers and returning them
                                  Kindly stop the incoming transfers sent to the citizens listed below, and
                                  return them to the Saudi Committee for the Support of al-Quds Intifada:
  [illegible] 15748               1. Ibrahim Fuad al-Qassas
 •17417                           2. Ahmad Muhaisan Shehadeh
  15978                           3. Ashraf al-Abd Islim
  17483                           4. Amin Ali Abu Armana
  15986                           5. Ayman Salah Wadi
 •16784                           6. Karam Fathi al-Kurd
 •16945                           7. Majdi Ali Abed
  16303                           8. Imad Adib al-Daya
  17592                           9. Rashid Sa'id Barhum
 '16370                           10. Saleh Issa Riyati
 -18701                           11. Nidal Hasan Abu Awn
  17428                           12. Yusuf Dhiyab Khtfhrf
  17650                           13. Salim Muhammad al-Hamayda


                                                        May Allah bless you.


  Your brother Ahmad al-Kurd
  Director of Al-Salah Islamic Society
  [stamp]                                                        [Handwritten:]               2538990
  [signature]                                                                                     2534433
  [illegible]                                                                                                        Abu      Osama



  P.O.Box 6035 Dir AL B a i a l i - Gaza Tel. : (07)831081 FAX: (07) S30SS1       Headquarters: P. O. Box 6035 Dir al-Balalr Gaza
  GAZ A - AL - TH AL ATHEEN ST. Tel.: (07)820636 FAX: (07)823920                  Main office: Gaza Al-Tlialathini Str.

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